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 1                                        THE HONORABLE JAMES L. ROBART
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 5
                         UNITED STATES DISTRICT COURT
 6                      WESTERN DISTRICT OF WASHINGTON
                                  AT SEATTLE
 7

 8
     AUBRY MCMAHON,
 9                                              CASE NO. 2:21-CV-00920-JLR
                Plaintiff,
10
                                                DEFENDANT WORLD VISION’S
11        vs.                                   RESPONSE IN OPPOSITION TO
                                                PLAINTIFF’S MOTION FOR
12   WORLD VISION, INC.                         RECONSIDERATION
13
                Defendant.                      NOTE ON MOTION CALENDAR:
14                                              July 14, 2023
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     DEF. WORLD VISION’S OPPOSITION    Page i             Ellis | Li | McKinstry
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                                                          Seattle, WA 98101-1820
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 1   I.       PLAINTIFF FAILS THE RECONSIDERATION TEST.
 2            A.    Plaintiff Reframes Argument With Old Authorities.
 3
              Motions for reconsideration “may not be used to raise arguments … for the first
 4
     time when they could reasonably have been raised earlier.” Wells Fargo v. Mahogany
 5

 6   Meadows Trust, 979 F.3d 1209, 1218 (9th Cir. 2020) (citation omitted). This prohibition

 7   applies to “alleged new authorities in support of [such] arguments.” Aronson v. Dog
 8
     Eat Dog Films, 738 F.Supp.2d 1104, 1119 (W.D.Wash. 2010). Plaintiff has reframed her
 9
     argument with new citations to old authorities. See MFR 3 & n.1 (citing Frank, 216 F.3d
10

11   845 (9th Cir. 2000); Healey, 78 F.3d 128 (3d Cir. 1996); and Cassino, 817 F.2d 1338 (9th

12   Cir. 1987)). These “alleged new authorities” must be “disregard[ed].” Aronson, at 1119.
13
              B.    Plaintiff Concedes Inexcusable Neglect.
14
              Four times this Court noted Plaintiff’s “failure to address or rebut” the
15

16   “numerous circuit and district court decisions cited by World Vision.” Order 18

17   (twice); id. 22; id. 24. Indeed, despite three full rounds of overlength cross-briefing

18   (Dkt.21), “[t]he closest Ms. McMahon [came was] through two sentences in her reply
19
     brief,” Order 22-23, and two cases she assumed would suffice: Starkey, 496 F.Supp.3d
20
     1195 (S.D.Ind. 2020) and Bohnert, 136 F.Supp.3d 1094 (N.D.Cal. 2015). But this Court
21

22   found Starkey of “limited reasoning” and not “persuasive,” Order 18 n.8, and found

23   Bohnert to support WV, id. at 23-24. As Plaintiff properly concedes, her briefing
24
     “should not have assumed this Court would follow Starkey.” MFR 6.
25

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 1          C.      Plaintiff Raises No Indisputable Error.
 2          To show “manifest error,” Plaintiff must show “an error that is plain and
 3
     indisputable, and that amounts to a complete disregard of the controlling law.” Samal
 4
     v. U.S., 2022 WL 179327, at *2 (W.D.Wash. Jan. 20, 2022) (Robart, J.). Plaintiff’s “new”
 5

 6   cases of Healey, Frank, and Cassino pack little punch. See infra 2-5 & n.1. They reflect

 7   neither “indisputable error” nor “complete disregard of the controlling law.”
 8
     II.    PLAINTIFF IS WRONG ON THE MERITS.
 9
            A.      McDonnell Douglas and Opara Are Controlling.
10
            Plaintiff disputes this Court’s use of McDonnell Douglas, 411 U.S. 792 (1973)
11

12   (“MD”), citing Healey, Frank, and Cassino for the notion that a “facially discriminatory”

13   policy “per se” evades MD’s three-step test (“Healey argument”). MFR 3. But this Court
14
     faithfully followed the controlling MD analysis of Opara, 57 F.4th 709 (9th Cir. 2023),
15
     and Opara leaves no room for the Healey argument. See infra at 2-5.1
16

17          B.      Only MD’s Three-Step Framework Is Relevant Here.

18          MD has two tests: (1) three-step burden-shifting test of “Step One: The Prima
19   Facie Case,” “Step Two: Legitimate, Nondiscriminatory Reason,” and “Step Three:
20
     Pretext.” Opara, at 721-29 (citing MD) (emphasis retained); and (2) optional four-factor
21
     test to meet step one (prima facie). Id. at 722 (“[MD] Factors”). The latter test is
22

23   irrelevant here, as Plaintiff did not use it to establish her prima facie case.

24

25
     1 To the extent Frank adopted this Healey proposition, it is a relic of past antidiscrimination
26   jurisprudence. Frank has never been cited for that proposition, and Healey just once, in Wiseley,
     2004 WL 1739724 (D.N.J. Aug. 4, 2004). And Cassino, a 1987 case about pretext jury instructions
27   that Plaintiff cites only in a short footnote (MFR 3 n.1), adds nothing to her Healey argument.

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 1          C.     Opara Requires All Three MD Steps in All Disparate Treatment Cases.
 2          Under Opara, “staving off a motion for summary judgment on disparate
 3
     treatment claims … entails three steps.” Id. at 721, 721-29 (applying MD’s three steps).
 4
     Opara clarifies that step one (prima facie) may be met in one of three ways: (a) direct
 5

 6   evidence, (b) circumstantial evidence, or (c) four MD factors. Id. “[R]egardless of the

 7   approach a plaintiff takes on step one … once an employer articulates some legitimate,
 8
     nondiscriminatory reason [step two], the employee must show that the articulated
 9
     reason is pretextual [step three].” Id. at 723. Opara repeatedly reinforces the importance
10

11   of all three steps. Id. at 721-29 (using words, structure, and font). Opara leaves no room

12   to discard steps two and three for allegedly “facial” or “per se” claims.
13
            D.     Opara Requires All Three MD Steps in All Direct Evidence Cases.
14
            Plaintiff has argued “direct evidence” repeatedly. See Pls. Opp. 2 (“Plaintiff
15
     submitted direct evidence”); Pls. MSJ 5 (similar); id. at 6 (twice). Opara clarifies that
16

17   MD’s three-step test applies in all “direct evidence” cases. Id. at 723-27 (step one). In

18   addition, Opara cites “direct evidence” sixteen times, id., defines it as “evidence …
19
     reflecting the alleged discriminatory attitude,” id. at 723, and cites two “direct
20
     evidence” cases that apply MD’s three-step test, id. at 723 n.12 (citing EEOC v. Boeing
21

22   Co., 577 F.3d 1044, 1049 (9th Cir. 2009) (“direct evidence of discriminatory animus”)

23   and Schnidrig v. Columbia Mach., 80 F.3d 1406, 1409 (9th Cir. 1996) (“direct evidence of
24
     discriminatory motives”)). A “direct evidence” case is what Plaintiff has presented and
25
     what this case is. Opara’s three-step test governs this “direct evidence” case.
26

27

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 1          E.      Opara Requires All Three MD Steps in This Case, Regardless.
 2          This Court rightly relies on Butler, 609 F.Supp.3d 184 (E.D.N.Y. 2022), a closely
 3
     analogous case. “[Butler] was let go shortly after [revealing] he was gay and planned
 4
     on marrying his boyfriend eventually. The school contended that its termination [was]
 5

 6   predicated on his ‘statement of intended conduct,’ [to marry another man,] which the

 7   school viewed as ‘a clear and obvious violation of Church teachings,’ ‘rather than his
 8
     sexuality itself’ and thus, a non-discriminatory reason for termination.” Order 21.
 9
     There, as here, the employer’s policy welcomed gay employees “as long as they do not
10

11   engage in conduct proscribed” by religious doctrine. Butler, at 202-203. There, as here,

12   plaintiff claimed an email implied the relevance of sexual orientation, not just conduct.
13
     There, as here, plaintiff failed to adduce sufficient secular evidence of pretext. Id.
14
            “World Vision rescinded [its] offer after learning that Ms. McMahon was in a
15

16   same-sex marriage, which, according to World Vision, evidenced sexual conduct

17   contrary to World Vision’s SOC and deeply held religious beliefs regarding Biblical
18
     marriage.” Order 20. This was a “legitimate, nondiscriminatory reason.” Id. at 19-22
19
     (citing Butler). Such conduct policies are allowed by Title VII (under Bostock, 140 S.Ct.
20

21   at 1753–54) and protected by the Constitution. See, e.g., Defs. Opp. 12-14.2 If such a

22   policy “discriminates” at all, it does so legally via conduct and not orientation.
23
            Like Butler, Plaintiff is left to argue that a (legal) conduct policy is evidence of,
24
     or cover for, sexual orientation discrimination. Without citing “pretext,” Plaintiff has
25

26

27   2 Citing, inter alia, Bear Creek (just affirmed on religious freedom grounds, 70 F.4th 914).


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 1   argued it throughout, Pls. MSJ 3; id. 10; Pls. Opp. 6-7, relentlessly seeking evidence that
 2
     “being LGBTQ [was] a factor in the determination to rescind the job offer[.]” Freiberg
 3
     Dep. 74:17-22 (“A: No, it wasn’t.”); accord id. at 45:9-25; 46:8-25; 47:5-21; 48:3-25; 49:3-
 4

 5   20; 50:4-24; 51:3-13; 57:21-24; 108:3-15; 109:6-16; Talbot Dep. 25:8-13 (“may be gay”);

 6   26:10-20 (“was gay”); 43:7-46:8 (“sexual orientation”; “being gay”); 58:22-59:11; 74:2-7.
 7
            No such evidence turned up; indeed, the undisputed record proves the
 8
     opposite. For example, WV’s policy statement, Do you hire LGBTQ individuals?, states:
 9

10          People of any sexual orientation can work at World Vision as long as
            they agree with our statement of faith and abide by our conduct policy.
11          [We hire] people who live out biblical standards of conduct.

12   Defs. MSJ at 8 n.8 (quoting WV731 at MF ¶45 & Dkt.28-20). Accord id. (referencing
13
     Dkt.28-19 (FAQs) at WV4694-4695; Dkt.28-21 (“Employment and Sexual Orientation”)
14
     at WV2849 & 2853; and Dkt.28-22 (“abstinent until marriage” explained) at WV1390).
15

16          Thus, to the extent Plaintiff envisions a “facially discriminatory” policy, her

17   argument is “circular.” Butler, 609 F.Supp.3d at 202-203. Further, it assumes that WV’s
18
     policy that legally prohibits conduct is actually evidence of (or pretext for) illegal
19
     discrimination based on orientation. Any such argument falls squarely within Opara. In
20

21   short, Butler applied the three-step test that Opara says governs here.

22          F.      Religious Freedom Is Not Religious Discrimination.
23
            Plaintiff’s view of religious freedom defenses is also circular. See MFR 7; id. n.2.3
24

25
     3 If Title VII’s antidiscrimination protections trump its religious freedom protections, “Title VII
26   would be at war with itself.” Groff v. DeJoy, 2023 WL 4239256, at *12 (June 29, 2023). But
     Congress struck a different balance with “This subchapter shall not apply.” Defs. MSJ 16-20;
27   Opp. 17-20. What a “statute actually says” is what courts must “heed.” Groff, at *10.

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 1   The free exercise of religion is not illegal discrimination. What Plaintiff calls religious
 2
     discrimination is the exercise of freedoms protected by the First Amendment’s Religion,
 3
     Speech, and Assembly Clauses. See Defs. MSJ 9, 20-34; Opp. 2-5; Reply 3-7 & n.5.
 4

 5          G.      The First Amendment Trumps Any Statute or Statutory Test.

 6          Regardless, no statutory test trumps the First Amendment. This Court properly

 7   relies on autonomy principles embodied in the “numerous decisions” cited by WV.
 8
     Those decisions include not just self-identifying autonomy cases but Title VII-
 9
     interpretation cases vindicating autonomy. See Defs. MSJ 10, 14 n.12, 17-20; Opp. 8;
10

11   Reply 5-6 (citing Little; Kennedy; Mississippi College; Hall; and Killinger). Those cases

12   protect the autonomy of religious employers to hire personnel who share their beliefs
13
     and do so without relying on MD.4 First Amendment principles do not hinge on
14
     applicability of MD, nor can they. Ultimately, autonomy not only satisfies MD but
15

16   supersedes it. And autonomy is only one of WV’s defenses, each of which forecloses

17   trial. If the Court revisits its ruling, it should consider “multiple grounds to support its
18
     conclusions” in favor of WV. Biden v. Nebraska, 2023 WL 4277210, at *15 n.9 (June 30,
19
     2023) (“multiple grounds [are] a strength, not a weakness”); see Defs. MSJ 35-36
20

21

22

23   4 The only one citing MD is Hall. But Hall’s use of MD is no help to Plaintiff. Hall found no

24   factual evidence of pretext and did not tie that inquiry to any constitutional concerns, let alone
     those urging proper construction of the ROE to enforce the “constitutional right” (autonomy)
25   of religious employers “to be free from government intervention.” 215 F.3d at 625. Also, Hall
     involved a claim of “religious discrimination,” a challenging concept when it can signify both
26   claim and defense in the same case. Finally, any conflation of MD’s three-step framework with
     its optional four-factor test for step one was eliminated by Opara. As for Plaintiff’s insistence
27   that she did not invoke MD, that is irrelevant. Opara says MD applies regardless.

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 1   (requesting multiple-ground ruling); id. 13-35 (providing multiple grounds).5
 2
            H.      303 Creative Ends the Debate.
 3
            In the debate between religious freedom and same-sex marriage, the Supreme
 4
     Court just sided with the First Amendment. 303 Creative LLC v. Elenis, 2023 WL 4277208
 5

 6   (June 30, 2023). When an antidiscrimination “law and the Constitution collide, there

 7   can be no question which must prevail.” Id. at *11. This conclusion was preordained
 8
     because, in such debates, “the First Amendment has struck the balance for us.”
 9
     Hosanna-Tabor Evangelical v. EEOC, 565 U.S. 171, 196 (2012) (unanimous).
10

11          Like WV, the business woman in 303 believes her work is expressive under

12   Hurley, 515 U.S. 557 (1995) and Dale, 530 U.S. 640 (2000). Like WV, she welcomes “all
13
     people regardless of ... sexual orientation,” 303, at *13, but will “not violate her beliefs,”
14
     id. at *12, and “contradict biblical truth,” id. at *6. In the end, 303 rests on “protections
15

16   belong[ing not] only to speakers whose motives the government finds worthy [but] to

17   speakers whose motives others may find misinformed or offensive.” Id. at *12. Against
18
     such protections, no government can force speakers to “accommodate other views” by
19
     forcing them to promote SSM against their religious beliefs. Id. at *13.
20

21   III.   CONCLUSION.

22          Plaintiff sought employment as a DCSR. For WV, DCSRs “are” its “message”
23
     and they communicate that religious message only as effectively as they live it. See
24

25

26   5 While WV’s jurisdictional argument borrows principles from cases vindicating autonomy

     (aka “ecclesiastical abstention”), Plaintiff herself made this dispute theological, depriving this
27   Court of jurisdiction as a threshold matter. Defs. MSJ 6-9, 11-12; Opp. 2-5; Reply 1-3.

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 1   Defs. MSJ 23-34; Opp. 20-26; Reply 11-16.6 As for Plaintiff’s hypotheticals of religious
 2
     employers rejecting applicants for various protected traits, there is a solution: strict
 3
     scrutiny. If religious employers present honest but intolerable religious defenses, strict
 4

 5   scrutiny provides a relief valve.

 6          The Motion for Reconsideration should be denied.
 7
            Respectfully submitted,
 8
            DATED this July 7, 2023
 9                                                     ELLIS, LI & McKINSTRY PLLC
10
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23
                                                       Attorneys for Defendant
24                                                     World Vision, Inc.
25
     6 303 Creative invokes Hurley and Dale, cases of “expressive association.” This doctrine applies
26   to employment as much as public accommodations. See Defs. MSJ 34 (citing Slattery v. Hochul,
     61 F.4th 278 (2d Cir. 2023)). It is even more vital in employment, where a foe or skeptic does
27   not merely associate with a religious entity but operationalizes and personifies it.

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           I certify that this memorandum contains 2,079 words, in compliance with the
 3
     2,100-word limit in the Court’s Minute Order of 6/27/2023 (Dkt.41).
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